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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

                                                      :
             EZEMOND SMITH, et al.,                   :
                                                      :
                   Plaintiffs,                        :    CIVIL ACTION FILE NO.
                                                      :    1:20-CV-3490-ELR
                   v.                                 :
                                                      :    [Magistrate Judge Bly]
                                                      :
             BFI WASTE SERVICES, LLC                  :
             d/b/a Republic Services,                 :
                                                      :
                   Defendant.                         :


                                   ORDER SCHEDULING MEDIATION

                   This case has been referred to the undersigned for purposes of conducting a

             mediation/settlement conference. The parties must appear before the undersigned

             on Friday, March 5, 2021 at 9:30 A.M. The settlement conference will be conducted

             by video using the Zoom platform. Counsel will be sent instructions prior to the

             mediation.

                   It is hereby ordered that, prior to the formal mediation session, the parties shall:

                   1.     Submit a brief, informal, confidential, ex parte memorandum to the

             undersigned no later than 12:00 p.m. on February 26, 2021, by e-mail directly to the

             undersigned at christopher_c_bly@gand.uscourts.gov. The memoranda shall not be




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             filed with the Clerk of Court. Also give notice to opposing counsel—without

             divulging the contents of the submission—that you e-mailed the submission to the

             Court. The submission shall contain the following information:

                            a.   a concise, factual, non-argumentative recitation of the evidence

             that the party expects to produce at trial, together with the theory of recovery or

             defense;

                            b.   an honest introspective analysis of the strengths and weaknesses

             of the case;

                            c.   a discussion of the settlement negotiations to date (as further

             explained in paragraph 2 below); and

                            d.   an explanation of what, if any, impediments exist that inhibit

             settlement of the case.

                   A party may also electronically attach to the memorandum any deposition

             transcripts or documents that are helpful to understanding the party’s position. A

             party should not attach more than three deposition transcripts and five documents

             without first discussing the need for additional attachments with the undersigned.

                   2.       Mediation/settlement conferences are often unproductive unless the

             parties have exchanged demands and offers before the conference and have made a



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             serious effort to settle the case on their own. Before arriving at the conference, the

             parties are to negotiate and make a good faith effort to settle the case without the

             involvement of the Court. To that end, no later than 14 days before the confidential

             memorandum described above is to be submitted to the undersigned, Plaintiff(s) shall

             deliver to Defendant(s) a written itemization of damages and a settlement demand.

             No later than 7 days before the confidential memorandum described above is to be

             submitted to the undersigned, Defendant(s) shall respond to the demand made by

             Plaintiff(s) with a written counteroffer. If time allows prior to the settlement

             conference, specific written counter-proposals shall be exchanged. The parties shall

             not copy the Court on these demands/offers/counter-proposals at the time they are

             made but must describe the pre-conference negotiations in their settlement

             memoranda. PLEASE NOTE: The exchange of demands and offers shall be made

             even if the parties have recently attempted to settle the case on their own or have

             already exchanged offers and demands. Counsel shall advise their clients that they

             must be prepared to engage in further negotiation at the conference.

                   3.     The undersigned will speak separately with counsel for each side by

             telephone prior to the mediation. It is each party’s responsibility to call chambers at

             the designated time at 404-215-1330. The Court will contact counsel at a later date to

             schedule the times for the calls.


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                   4.     At the mediation/settlement conference, the parties shall be prepared

             to make a brief (usually no longer than 10 minutes) presentation of the facts of the

             case in the presence of the opposing party. The parties shall be prepared to discuss

             with the undersigned the strongest and weakest points of the case, the latest

             settlement proposals made, and settlement proposals that they would be willing to

             make to conclude the matter and stop the expense, uncertainty, and anxiety of

             litigation. Separate, confidential caucuses will then be held with the parties or a

             party’s representative(s) and counsel.

                   5.     Every party must have present at the mediation/settlement conference

             a representative with full authority to negotiate, approve, and enter into a binding

             agreement. For a private uninsured party, that means a person with sufficient

             authority to settle the case in the amount of the opposing party’s last offer or demand.

             An insured party, in addition to having present a representative with full authority

             to negotiate, approve, and enter into a binding agreement, also shall appear by a

             representative of the insurer who is authorized to enter into a binding agreement up

             to the amount of the opposing party’s last offer or demand. An uninsured

             government party shall appear by a representative authorized to enter into a binding

             agreement subject to approval by the relevant governing authority.




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             The Court expects to be advised well in advance of the settlement conference if the

             attendance of any required person presents an undue burden.

                   6.     The sole purpose of the conference is to facilitate settlement of this case.

             To that end, it will be conducted in such a manner so as not to prejudice any party in

             the event settlement is not reached. All matters communicated to the undersigned in

             confidence will be kept confidential and will not be disclosed to any other party, or

             to the presiding judge(s).

                   IT IS SO ORDERED, this 8th day of February, 2021.




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